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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
             ___________________________________________________

REGENTS OF THE UNIVERSITY OF       )
MINNESOTA,                         )      Case No. 17-cv-03690 (DSD/ECW)
                                   )
                Plaintiff,         )
                                   )       PLAINTIFF’S MOTION TO
                vs.                )      EXCLUDE PORTIONS OF THE
                                   ) TESTIMONY OF WILEY R. WRIGHT
UNITED STATES OF AMERICA; and      )         AND ROBERT M. ZOCH
E.I. DUPONT DE NEMOURS AND         )
COMPANY,                           )
                Defendants.        )
                                   )
           ___________________________________________________

        Plaintiff Regents of the University of Minnesota (“University”) hereby moves,
pursuant to Fed. R. Evid. 702, for an order excluding from evidence certain proposed
opinions from Mr. Wiley R. Wright, a proposed expert witness from Defendant United
States of America (“USA”), because the anticipated testimony regarding the USA’s cost
recovery Counterclaim Three is based on speculative and unreliable data. The University
also moves for an order excluding certain proposed opinions from Mr. Robert M. Zoch, a
proposed expert witness from Defendant E.I. DuPont de Nemours and Co. (“DuPont”),
because the anticipated testimony regarding the University’s response cost claim is neither
helpful nor based on reliable information and will not aid the Court in determination of the
ultimate issues in this litigation. This motion is based upon the pleadings and all files,
records, and proceedings in the case, as well as the memoranda of law, declarations in
support, and exhibits filed herewith.

Dated: March 14, 2022                            LATHROP GPM, LLP

                                                 By /s/ Rick E. Kubler
                                                 Rick E. Kubler, #190007
                                                 Richard C. Landon, #392306

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